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             UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

                          -----------------------------
                               No. 24-30223
                          -----------------------------

    Frisard’s Transportation, L.L.C.; Louisiana Motor Transport
   Association, Incorporated; A & B Group, Incorporated; Triple G
 Express, Incorporated; Northlake Moving and Storage, Incorporated,

                          Plaintiffs - Appellants

                                       v.

United States Department of Labor; Julie A. Su, in her official capacity
as Acting Secretary, U.S. Department of Labor; Jessica Looman, in her
 official capacity as Administrator of the Wage and Hour Division; and
      United States Department of Labor, Wage and Hour Division,

                         Defendants - Appellees

          On Appeal from the United States District Court
                for the Eastern District of Louisiana
         Case No. 2:24-cv-00347-L Honorable Eldon E. Fallon

                       APPELLANTS’ REPLY BRIEF

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                           INTRODUCTION

  Defendants’ response almost entirely fails to address substantively

the arguments Plaintiffs articulated in their opening brief. Indeed, the

phrase “arbitrary and capricious” appears only once in their brief—in

the statement of facts. DOL Br. at 13. “Reliance interests” fares even

worse and does not appear in the DOL’s brief. And at no point do

Defendants rebut what is actually at issue: their failure to consider

reliance interests as a part of the rulemaking. See Opening Br. at 29-30.

  Instead, Defendants bizarrely attempt to manufacture a series of

mostly procedural hurdles that would prevent this Court from getting to

the merits, which they apparently do not wish to defend and clearly do

not wish to discuss.

  Plaintiff transportation companies hereby submit this reply to

Defendants’ brief to clarify what they muddy. And to reiterate that the

record reflects Plaintiffs will incur substantial financial injury with no

guarantee of eventual recovery from the 2024 Rule—which comports

with DOL’s estimated compliance costs of $148,000,000 in the Rule’s

first year. Plaintiffs are entitled to a preliminary injunction because

they showed the 2024 Rule would cause them irreparable harm.



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                                   REPLY

I.     The 2024 Rule will cause Plaintiffs irreparable harm,
       entitling them to preliminary injunctive relief.

     Defendants object to Plaintiffs’ attempt to seek preliminary

injunctive relief, DOL Br. at 15-16, but this is precisely the sort of

situation preliminary relief exists to address. As Plaintiffs explained in

their opening brief, they will incur substantial financial injury with no

guarantee of eventual recovery as a result of the 2024 Rule. See

Opening Br. at 31-32.

     Contract transportation services from independent owner-operator

truckers are a core feature of Plaintiffs’ business. And the 2024 Rule is

an explicit attempt to curtail their ability to continue operating using

their established business model by significantly increasing the number

of contractors who must now be classified as employees. At this stage of

the litigation, Plaintiffs are entitled to rely on their well-pled allegation

supported by declarations—consistent with the text of the 2024 Rule

and no opposing counter-declarations—that the 2024 Rule will “upend

[their] business operations, increasing costs, depriving truckers of the

opportunity to operate independently within their own business, and

potentially driving many of the independent contractors [they rely] on


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out of business, or into different lines of business other than [their]

business, depriving [them] of needed manpower to deliver cargo

wherever [their] clients need it delivered.” ROA.128, 131-32, 136, 139-

40, 144. Plaintiffs’ showing of irreparable harm is consistent with the

DOL’s estimated compliance costs of $148,000,000 in the 2024 Rule’s

first year. 89 Fed. Reg. 1638, 1733.

  This significant new regulation of their business operations is a

cognizable injury for which they are entitled to seek relief. Nemer Jeep-

Eagle, Inc. v. Jeep-Eagle Sales Corp., 992 F.2d 430, 435 (2d Cir. 1993)

(“Major disruption of a business can be as harmful as termination, and

a threat to the continued existence of a business can constitute

irreparable injury.”) (internal quotation marks omitted). The U.S.

Supreme Court and Fifth Circuit have held that “substantial financial

injury” may be “sufficient to show irreparable injury,” especially when

there is “no guarantee of eventual recovery.” Texas v. EPA, 829 F.3d

405, 433 (5th Cir. 2016); Alabama Ass’n of Realtors v. HHS, 141 S. Ct.

2485, 2489 (2021). And “complying with a regulation later held invalid

almost always produces irreparable harm of nonrecoverable compliance

costs.” Texas v. EPA, 829 F.3d at 433.



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  The cases Defendants cite to support the idea that Plaintiffs’ claim

here is somehow conjectural are inapposite—indeed, none of them are

even APA cases. DOL Br. at 23-24. For example, the Lyons case rejected

the unlikely possibility that the plaintiff would be personally subjected

to a chokehold by police in the future—an unusual occurrence unlikely

to repeat itself. As the Lyons Court explained, “past exposure to illegal

conduct does not in itself show a present case or controversy regarding

injunctive relief if unaccompanied by any continuing, present adverse

effects.” City of Los Angeles v. Lyons, 461 U.S. 95 (1983) (quoting

O'Shea v. Littleton, 414 U.S. 488 (1974)). But this is not a case about

past illegal conduct with no continuing adverse effects. Rather, this is a

case about current and ongoing policy that Defendants have every

intention of enforcing because DOL promulgated the 2024 Rule “to

rescind and replace the 2021 IC Rule,” 89 Fed. Reg. at 1639. Opening

Br. at 7. In other words, the very reason the 2024 Rule exists is because

DOL wanted to enforce it by doing away with the 2021 Rule.

  Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164 (2014), is

likewise a case about the criminalization of speech, not economic

regulation. But even assuming arguendo that it is relevant, it actually



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supports Plaintiffs here: the court there found that the plaintiffs’

concern that the law might one day be used against them was credible,

even though no one could predict whether a criminal prosecution would

definitely be brought. Plaintiffs’ injury here is far less speculative—

Plaintiffs’ business operations are certainly going to be subjected to

FLSA compliance. And as is true here the Driehaus Court found it

important that complaints could be initiated by private parties, which

meant that one couldn’t rely on the good faith or good judgment of

prosecutors not to bring censorious and abusive cases—any member of

the public could do so, just as any worker can file an FLSA claim here.

  Defendants continue to insist that the 2024 Rule was intended to

make regulations consistent with precedent, DOL Br. 24-26, but in fact

the 2024 Rule is inconsistent with the governing precedent in this

circuit. True, some other circuits use a six-factor version of the test

similar to the 2024 Rule. See, e.g., Real v. Driscoll Strawberry Assocs.,

Inc., 603 F.2d 748 (9th Cir. 1979). But the Fifth Circuit has always used

the five-factor test—which is also more consistent with the five Silk

factors the Supreme Court itself endorsed—namely “degree of control,

opportunities for profit or loss, investment in facilities, permanency of



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relation, and skill required.” Usery v. Pilgrim Equip. Co., 527 F.2d 1308,

1311 n.9 (5th Cir. 1976) (citing United States v. Silk, 331 U.S. 704

(1947)). And in applying those factors, this circuit has explicitly

endorsed certain factors as more probative than others, finding that

“[t]wo factors have emerged as critically significant in answering this

question: (1) how specialized the nature of the work is, and (2) whether

the individual is ‘in business for himself.’” Castillo v. Givens, 704 F.2d

181, 190 (5th Cir. 1983).

  When the two Rules are scrutinized together to determine their

consistency with precedent, the precedent in this circuit looks a lot more

like the 2021 Rule than the 2024 rewrite. This undermines Defendants’

misguided insistence and unsupported claim that Plaintiffs suffer no

injury since the 2024 Rule reinstates a legal regime that governed

Plaintiffs in 2021. DOL Br. at 29. That is simply not true. The six-factor

test has never been the precedent in the Fifth Circuit Court of Appeals,

where Plaintiffs reside and operate their businesses.

  The Defendants’ position also receives little help from the notion that

the 2024 Rule is simply an interpretive guidance document. Surely the

DOL does not mean to suggest that it will not enforce its own agency



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policy by the very terms it has laid out? DOL Br. at 29. The DOL’s

argument strains credulity. And as Defendants know, the FLSA

provides for private enforcement of their 2024 Rule in any case. At best,

the DOL perhaps has a point in that, now that Chevron deference is no

more, Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244 (2024), courts

will be free to recognize the error of the 2024 Rule in such future cases.

But that is no reason why this Court should not begin that process now

in this case and recognize the 2024 Rule is arbitrary and capricious.

  Defendants complain and bicker that “plaintiffs have never

suggested that they personally have reclassified or will likely reclassify

any workers because of the 2024 Rule.” DOJ Br. at 30; see also 34

(“Plaintiffs have never claimed that they have actually incurred (or will

likely incur) any monetary injury complying with some new legal

requirement contained in the rule.”). But that is not an accurate

account of the record before this Court. As Plaintiffs explained in their

brief: (1) the DOL conceded in the text of the 2024 Rule itself that costs

to employers in the new Rule’s first year were estimated to be

$148,000,000, 89 Fed. Reg. at 1733; (2) Plaintiff employers submitted

unopposed declarations in support of their motion for a preliminary



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injunction stating that they would incur substantial financial injury

with no guarantee of eventual recovery as a result of the 2024 Rule; and

(3) DOL’s sovereign immunity bars Plaintiffs’ ability to recover costs,

Wages v. White Lions Invs., L.L.C., 16 F.4th 1130, 1142 (5th Cir. 2021).

Opening Br. at 31-32.

  Moreover, as further explained in their brief and against this

backdrop of evidentiary support that Plaintiff employers will incur

substantial financial injury with no guarantee of eventual recovery as a

result of the 2024 Rule, it expressly states that the new Rule “is a

‘significant regulatory action’ under section 3(f)(1) of Executive Order

12866,” 89 Fed. Reg. at 1725. Opening Br. at 7. And a “significant

regulatory action” under 3(f)(1) means a rule that is likely to: “(1) have

an annual effect on the economy of $200 million or more, or adversely

affect in a material way a sector of the economy, productivity,

competition, jobs, the environment, public health or safety, or state,

local, or tribal governments or communities.” Opening Br. at 7-8.

  The record in this case shows that Plaintiffs filed their Motion for

preliminary relief before the 2024 Rule took effect; Plaintiffs were not in

a position to plead facts that had not yet occurred. But they did



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expressly plead and support with unopposed declarations that the 2024

Rule would cause major disruptions to their business operations—a

good-faith projection made entirely reasonable by the fact that the 2024

Rule significantly restricts, for the first time, who can be classified as

an independent contractor. Plaintiff employers’ projection of their

substantial financial injury with no guarantee of eventual recovery as a

result of the 2024 Rule is consistent with DOL’s own projection that

employers would incur costs of $148,000,000 in the 2024 Rule’s first

year, 89 Fed. Reg. at 1733. The DOL simply cannot square that circle.

  Plaintiffs timely sought a preliminary injunction and there was no

delay. Defendants curiously make much of Plaintiffs filing their Motion

for preliminary relief below on March 7, 2024, DOL Br. at 32. It appears

the Defendants are attempting to make more of a standing argument

related to lack of a concrete harm or injury rather than an argument

that Plaintiffs failed to meet the irreparable harm factor under a

preliminary injunction analysis. This is improper because the district

court did not deny Plaintiffs’ Motion on lack of standing. Instead, the

district court denied the Motion on a failure to meet the irreparable

harm factor under Rule 65 and said, “In this case it appears to me that



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the question of immediate harm hasn’t been shown,” ROA.315. Opening

Br. at 19. But either way, the DOL Defendants doth protest too much.

The filing of a preliminary injunction motion immediately before

regulation takes effect—like the Plaintiffs’ Motion here before the 2024

Rule took effect—is hardly unusual. In fact, filing a preliminary

injunction motion prior to sustaining an imminent injury is precisely

when a party should file such a motion. There is no dispute that the

new 2024 Rule became effective on March 11, 2024, four days after

Plaintiffs filed their Motion, 89 Fed. Reg. 1638. Opening Br. at 7.

Plaintiffs are required to show for example that the threat of harm or

injury from the 2024 Rule is substantial—meaning, “the threat must be

actual and imminent, not conjectural or hypothetical.” See, e.g.,

Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009). The March 11

effective date of the 2024 Rule was clearly imminent and thus was

about to cause injury to Plaintiffs. Had they filed their Motion weeks in

advance of the March 11 effective date of the 2024 Rule, the DOL would

likely be clamoring that Plaintiffs’ Motion was premature because their

injury was not imminent. The DOL cannot have it both ways.

  And, in fact, Plaintiffs filed their Motion for preliminary relief as



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soon as they could: the same day they filed their First Amended

Complaint, which included additional parties and factual allegations to

support their need for preliminary relief. The fact that one of the

Plaintiffs had filed an initial complaint earlier cannot prejudice those

Plaintiffs who had no earlier opportunity to seek relief because they

were simply not yet a part of the case. And the district court did not

deny the Plaintiffs’ Motion because of any delay. Contrary to

Defendants’ claim, Plaintiffs’ Motion for a preliminary injunction was

right on time—four days before the 2024 Rule took effect.

  Defendants insist with a straight face that there is nothing to see

here—that there can be no irreparable injury derived from the most

significant policy change to the FLSA in decades. DOL Br. at 36. But

there is simply no plausible basis to believe the impact of the 2024 Rule

will be meaningless—a strange assertion from Defendants, who clearly

thought the 2024 Rule was important enough to implement and vital

enough to defend here. By contrast, Plaintiffs’ good-faith pleading and

unopposed declarations specifically outlining major disruptions to their

business operations is a classic irreparable injury, Nemer Jeep-Eagle,

992 F.2d at 435. Again, “substantial financial injury” may be “sufficient



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to show irreparable injury,” especially when there is “no guarantee of

eventual recovery.” Texas v. EPA, 829 F.3d at 433; Ala. Ass’n of

Realtors, 141 S. Ct. at 2489. And there is no possibility of recovery here:

Plaintiffs have no action for damages against the federal government to

regain the losses they will incur as a result of the DOL Defendants’

illegal 2024 Rule. See Wages, 16 F.4th at 1142.

II.     The remaining preliminary injunction factors are before
        the Court, and this Court may render a preliminary
        injunction to set aside the 2024 Rule.

      The DOL Defendants finally insist that the other preliminary

injunction factors are not before this Court. But the denial of a

preliminary injunction is very much before this Court in total.

      Indeed, to rule otherwise would itself irreparably harm Plaintiffs, as

a remand—which, by Defendants’ own terms, would mean this Court

has found Plaintiffs are suffering irreparable injury—would simply

prolong their injury. This perverse outcome should not be the law, and

thankfully it is not the law: this Court has jurisdiction and competence

to provide Plaintiffs the necessary relief the district court denied them

and render a preliminary injunction to set aside the 2024 Rule. See

Boudreaux v. La. State Bar Ass'n, 86 F.4th 620 (5th Cir. 2023).



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                            CONCLUSION

  For these reasons, Plaintiffs respectfully request that the Court

reverse the district court and render a preliminary injunction in favor of

Plaintiffs and set aside the 2024 Rule.



September 6, 2024                                 Respectfully submitted,


                                                  /s/ James S. Baehr
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                       CERTIFICATE OF SERVICE

  I certify that on September 6, 2024, I caused a copy of the foregoing

document to be served on all registered counsel of record via the Court’s

ECF filing system.

                             /s/ James S. Baehr
                             Attorney for Plaintiffs-Appellants




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                            /s/ James S. Baehr
                            Attorney for Plaintiffs-Appellants


September 6, 2024




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